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 5
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 6   (Pro Hac Vice Forthcoming)
     WALLACE JORDAN RATLIFF
 7
     & BRANDT LLC
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11
                              UNITED STATES DISTRICT COURT
12
                 CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
13

14    SUN HONG FOODS, INC.,                             Case No. 2:19-cv-10121
15                                                      DECLARATION OF JAY DING IN
                                Plaintiff,              SUPPORT OF APPLICATION FOR
16                                                      WRIT OF ATTACHMENT
17    v.                                Date: January 22, 2020
                                        Time: 10:00 a.m.
18    OUTSTANDING      FOODS,     INC., Place: 255 E. Temple St., Los Angeles,
19    WILLIAM “BILL” GLASER, and DAVID CA,  90012, Courtroom 590.
                                        Judge: Hon. Rozella A. Oliver
      “DAVE” ANDERSON, each individually,
20    and DOES 1 through 10.
21
                                  Defendants.
22

23

24                                 DECLARATION OF JAY DING

25          1.     The following matters are of my own personal knowledge and if called
26
     upon to testify to the matters stated herein, I could and would competently testify thereto.
27

28
                                                    1
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 1          2.     I am employed as a Manager at Sun Hong Foods, Inc. (“Sun Hong”),
 2
     Plaintiff in this lawsuit. I am familiar with Outstanding Foods, Inc.’s (“Outstanding
 3
     Foods”) account and have reviewed the invoices attached to this declaration.
 4

 5          3.     I am informed and believe that on or around February 14, 2019, Sun Hong and

 6   Outstanding Foods entered into a Distribution Agreement. Pursuant to the Agreement, Sun Hong

 7   agreed to sell and deliver King Oyster Mushrooms to Outstanding Foods, and Outstanding Foods
 8   agreed to purchase, receive, and accept said produce. The terms of the Agreement require
 9
     Outstanding Foods to purchase at least 3200 cases of King Oyster Mushrooms every two weeks.
10
     Outstanding Foods agreed to be liable for the full amount due under each invoice, 30 days from
11
     the date of the receipt of conforming goods. Each party to the Agreement also agreed to
12

13   indemnify the other for any damages and losses caused as a result of their breach. A true and

14   correct copy of the Agreement is attached hereto as Exhibit A.

15          4.     Beginning on June 6, 2019, Outstanding Foods began failing to make
16
     payments on the invoices as they became due. Pursuant to the terms of the invoices issued
17
     to Outstanding Foods, past due accounts are subject to interest at the rate of 1.5% per
18

19   month. To date, the principal amount due as a result of Outstanding Foods’ failure to
20   make payments is $428,279.50. As of December 13, 2019, $4,670.28 of interest has
21
     accrued on the principal amount. Additionally, there has been another $9,846.21 in
22
     expenses incurred as a result of Defendant’s breach. A true and correct copy of the unpaid
23

24   invoices, interest calculation, and expenses incurred is attached hereto as Exhibit B.

25          5.     Sun Hong has performed all of its required conditions, covenants, and
26
     promises in accordance with the terms and conditions of the Agreement.
27

28
                                                      2
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 1          6.     Defendant failed to reject or otherwise object to the receipt of any load of
 2
     produce delivered under the Agreement.
 3
            7.     Sun Hong is informed and believes that Outstanding Foods is currently
 4

 5   insolvent.

 6          8.     If called to testify about the above statements, I could and would so testify
 7
     of my own personal knowledge.
 8
            I declare under penalty of perjury of the laws of the United States of America that
 9

10   the foregoing is true and correct. Executed this day, December 14, 2019, at Montebello,

11   California.
12

13
                                                              /s/ Jay Ding
14                                                            Jay Ding
15

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                                                    3
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                      Exhibit A
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                              DISTRIBUTION AGREEMENT

        This Distribution Agreement (“Agreement”) by and between Sun Hong Foods, Inc., a
California corporation (“Supplier”), and Outstanding Foods, Inc., a Nevada corporation
(“Buyer”) is dated February 14, 2019. Buyer and Supplier are sometimes collectively referred to
as the “Parties,” or individually as a “Party.”

       WHEREAS, Supplier Sun Hong Foods is one of the national leaders in selling, marketing
and distributing fresh king oyster mushrooms (the “Goods”) to restaurants, wholesalers, and
supermarkets and;

       WHEREAS, Buyer is a producer, manufacturer and distributor of plant-based snack food
products; and

       WHEREAS, the Parties wish to enter this Distribution Agreement wherein Buyer will
purchase Goods from Supplier and Supplier will sell Goods on the terms set forth below.

       NOW, WHEREFORE, in consideration of the promises and the mutual covenants
contained herein, the Parties agree, as follows:

1. Term: The term of this Agreement shall be one year from the date first mentioned above and
   may be renewed in writing upon the agreement of both Parties.

2. Purchase Orders. During the Term, Buyer will purchase the Goods from Supplier and
   Supplier will fulfill all Buyer purchase orders (PO) for the Goods at the prices set forth
   below. Buyer will issue POs in written or electronic form, via facsimile, e-mail or US mail.
   Buyer will only be obligated to purchase, and Supplier will only be obligated to sell, the
   quantities of Goods specified in a PO.

3. Goods and Pricing:
          Description of Goods                                   Price
         King Oyster Mushrooms                 $13.25 per 11-pound case of Goods (approx.
                                                           $1.2045 per pound)

   Price includes all costs and expenses relating to the purchase of the Goods and preparation of
   the Goods for shipment. Supplier will meet FDA, USDA and all state food regulations and
   Buyer’s specifications set forth on the attached Exhibit A (collectively, “Specifications”).

4. Shipping Terms: Supplier will use commercially reasonable efforts to obtain on-time
   delivery, defined as shipment of the Goods by the agreed upon delivery date as set as 1-2
   days after the shipment arrive at Supplier’s warehouse to a facility designated by Buyer
   (initially, Warnock Food Products, Inc.’s facility in Madera, California). However, shipping
   dates represent Supplier’s best estimate and Supplier shall not be liable for any loss or
   expense incurred by Buyer or others arising from any failure to meet the scheduled deliveries
   shown on Buyer’s PO confirmation due to force majeure events (described in Section 22
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   below) and/or for any loss or expense due to Buyer’s selection of a particular carrier. The
   first delivery is estimated to arrive at Buyer’s facility Seventy (70) days after the execution
   date of this Agreement. Unless otherwise specifically provided in the applicable Purchase
   Orders, the Goods purchased by Buyer from Supplier shall be shipped FOB Supplier’s
   warehouse whereby title and risk of loss will pass to Buyer upon loading of the Goods from
   Supplier’s loading dock. Any Products returned by Buyer to Supplier shall be FOB Buyer’s
   (or its designees’) facilities. Buyer shall be responsible for all charges in excess of normal
   pricing which result from Buyer’s deviation from normal service or routing for the Goods.

5. Guaranteed Orders: Buyer will be required to order (and Supplier will be required to accept
   such order) at least 3200 cases (i.e., $42,400.00) of the Goods every week during the term.

6. Guaranteed Orders Adjustment Option: Supplier hereby grants to Buyer an option to change
   the required order from at least 3200 cases (i.e., $42,400.00) of the Goods every week to at
   least 3200 cases (i.e., $42,400.00) of the Goods every Two (2) weeks, by delivering to
   Supplier at least Fifty (50) days prior written notice of Buyer’s exercise of this Guaranteed
   Orders Adjustment Option.

7. Invoicing; Payment: Payment is due in full net-30 days from the date of receipt of
   conforming Goods. Invoices will describe in reasonable detail the amounts payable and any
   other information necessary for the identification for the Goods.

8. Inspection. Buyer will have two (2) calendar days following receipt of the Goods to inspect
   and reject the Goods in compliance with the California Commercial Code. If any Goods are
   rejected, Buyer may (i) require Supplier to replace the Goods (at Supplier’s cost), (ii) require
   Supplier to issue a credit to Buyer; or (iii) retain the rejected Goods and seek other
   appropriate remedies.

9. Packaging. Supplier will properly pack, mark and ship Goods as instructed by Buyer in
   writing and otherwise in accordance with Specifications and industry standards (including
   providing a lot number, pack date and/or best by date on boxes of Goods) and will provide
   Buyer with shipment documentation showing the PO number, Supplier’s name and
   identification number, carrier name, ship-to address, quantity of Goods, number of cases or
   containers in shipment, bill of lading number, country of origin.

10. Records. Buyer might, upon reasonable notice to Supplier and within Supplier’s reasonable
    discretion, have access to and the right to inspect Supplier’s premises and records and third
    party audit reports (if applicable), for the purpose of confirming compliance.

11. Confidentiality. Neither Buyer nor Supplier will use or disclose any Confidential Information
    (defined below) of the other except in connection with the performance of this Agreement
    and then only to those with a need to know or use such information and who are under an
    obligation of confidentiality and restrictions on use equivalent to those in this paragraph.
    “Confidential Information” includes the terms of this Agreement, any non-public information
    learned through the supply relationship (including tests and results, customer lists, supplier
    identities, samples and specifications, including the Specifications) and any non-public

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   information pertaining to a Buyer or Supplier’s financial affairs, business systems, marketing
   strategies, trade secrets, products, product development, recipes, packaging, designs, flavors,
   equipment, manufacturing process, technology and other technical and commercial
   information, in each case, to the extent designated as confidential by Buyer or Supplier or of
   a nature that would be reasonably deemed to be confidential.

12. Representations and Warranties. Buyer and Supplier represent, warrant and covenant to each
    other that (A) it has the right and authority to enter into this Agreement, (B) there is no
    further action necessary to make this Agreement binding on it, and (C) there is no action or
    investigation pending or threatened that could affect its ability to perform its obligations.
    Supplier represents, warrants and covenants that, (I) the Goods will not be out-of-
    date/expired, adulterated, mislabeled or misbranded, (II) the Goods will be of good and
    merchantable quality, fit for human consumption, and (III) the Goods will be free from
    defects and conform with Buyer’s Specifications.

13. Indemnification. (A) By Supplier. Supplier will indemnify and hold harmless Buyer, its
    affiliates and each of its and their owners and representatives and their successors and
    permitted assigns, from and against any and all damages, liabilities, losses, costs and
    expenses (including attorneys’ fees and costs) resulting from claims arising out of or in
    connection with breach by Supplier of this Agreement, or Supplier’s acts or omissions with
    respect to the Goods. (B) By Buyer. Buyer will indemnify and hold harmless Supplier, its
    affiliates and each of its and their owners and representatives and their successors and
    permitted assigns, from and against any and all damages, liabilities, losses, costs and
    expenses (including attorneys’ fees and costs) resulting from claims arising out of or in
    connection with breach by Buyer of this Agreement, or Buyer’s acts or omissions with
    respect to the Goods or its products.

14. Insurance. Supplier will, at its own expense, maintain, in amounts that are commercially
    reasonable and sufficient given its business, on a per-occurrence basis, but in no event less
    than commercial general liability insurance (including product liability and contractual
    liability insurance) of One Million Dollars ($1,000,000) per occurrence, with an aggregate of
    no less than One Million Dollars ($1,000,000) for bodily injury including personal injury and
    property damage. Supplier will name Buyer as an additional named insured under the policy
    covering the Goods only and upon Buyer’s reasonable request, provide a certificate
    evidencing such coverage.

15. Termination. Either Party may terminate this Agreement by Notice (defined below) to the
    other Party upon the occurrence of one or more of the following: (a) any proceeding in
    bankruptcy or in reorganization or for the appointment of a receiver or trustee or any other
    proceedings under any law for the relief of debtors shall be instituted by or against the other
    Party or if the other Party shall make an assignment for the benefit of creditors; or (b) a Party
    commits a material breach of any of the terms of this Agreement, which breach is not
    remedied by such Party to the other Party’s reasonable satisfaction within 30 days of Notice
    of such breach. Upon termination, the Parties will remain obligated to ship and pay for
    Goods ordered through the date of termination. Subject to the indemnification provisions in
    Section 13, neither Party will be liable to each other for claims by a Party or a Party’s

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   suppliers, contractors or subcontractors, for loss of anticipated profit, unabsorbed overhead,
   interest on claims, product development and engineering costs, facilities and equipment
   rearrangement costs or rental, unamortized depreciation costs, and general and administrative
   burden charges or other similar amounts.

16. Independent Contractor. The status of the Parties to this Agreement, including its employees
    and agents, shall be that of independent contractors and not as employees or agents or
    fiduciaries of the other Party. Nothing in this Agreement or Purchase Orders shall be
    construed to create any relationship between the Parties other than that of buyer and
    distributor/supplier. Nothing in this Agreement shall be construed as creating any franchise,
    joint venture, agency, trust or partnership relationship of any kind between the Parties. The
    respective businesses of Supplier and Buyer shall be operated separately and apart from each
    other. Neither Party shall be in any event held liable or accountable for the acts or omissions
    of the other Party except as specifically set forth in this Agreement.

17. Severability. Whenever possible, each provision of this Agreement shall be interpreted in
    such manner as to be effective and valid under applicable law, but if any provision of this
    Agreement is held to be prohibited by or invalid under applicable law, such provision shall
    be ineffective only to the extent of such prohibition or invalidity, without invalidating the
    remainder of such provision or the remaining provisions of this Agreement.

18. Modifications. Neither this Agreement nor any Schedule attached hereto may be amended,
    changed, modified or rescinded except in writing signed by both Parties. Neither Party shall
    be bound by any terms inconsistent with or additional to the terms and conditions of this
    Agreement and the Purchase Orders. Failure to enforce any provision of this Agreement will
    not constitute a waiver of any term hereof. The waiver of any provision of this Agreement
    may only be effected by a writing signed by the Party against whom the waiver is sought to
    be enforced. No waiver of any of the provisions of this Agreement will be deemed or will
    constitute a waiver of any other provisions hereof (whether or not similar), nor will any such
    waiver constitute a continuing waiver unless otherwise expressly so provided.

19. Construction. The language of English for this Agreement is the language chosen by the
    Parties to express their mutual intent, and this Agreement shall be construed without regard
    to any presumption or rule requiring construction against the Party causing the instrument to
    be drafted.

20. Governing Law and Venue. This Agreement is made accordance with and shall be governed
    and construed in accordance with the laws of the State of California, U.S.A., notwithstanding
    conflict of law principles that would result in the application of laws of another jurisdiction
    (including the United Nations Convention on Contracts for the International Sale of Goods).
    The federal and state courts in the Los Angeles County, State of California shall have
    exclusive jurisdiction and venue over all actions in connection with this Agreement. The
    Parties consent to in personam jurisdiction in such courts. Buyer and Supplier waive the
    defense of forum non conveniens.




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21. The English version of this Agreement, regardless of whether a translation in any other
    language is or shall be made, shall be the only authentic one. Supplier and Buyer
    acknowledge that they fully understand English and the terms and conditions of this
    Agreement.

22. Notice. All notices, requests, demands, changes of address and other communications under
    this Agreement ("Notice" or "Notices") shall be in writing and shall be deemed to have been
    duly given on the date of service, if served personally on the Party to whom notice is given,
    on the next business day if served by nationally recognized overnight courier, or within
    seventy two (72) hours after mailing if mailed to the Party to whom Notice is to be given, by
    first class mail, registered or certified, postage prepaid and properly addressed to the Party at
    its address set forth below or to any other address that either Party may designate by Notice
    to the other.

       If to Supplier:

               Sun Hong Foods, Inc.
               1105 W Olympic Blvd
               Montebello, California 90640
               Attn: Shuzhen He

       With a copy to:

               Law Offices of Bin Li & Associates
               730 N. Diamond Bar Blvd
               Diamond Bar, California 91765
               Attn: Bin Li, Esq.

       If to Buyer:

               Outstanding Foods, Inc.
               615 Hampton Drive, Unit C-101
               Venice, California 90291
               Attn: Bill Glaser

       with a copy to:

               Garvey Schubert Barer, P.C.
               100 Wall Street – 20th Floor
               New York, New York 10005
               Attn: Hillary H. Hughes, Esq.

23. Force Majeure. In the event of war, fire, explosion, flood, strike, riot, new act of
    governmental authority, act of God or other contingency beyond the reasonable control of
    either Party, causing cessation or interruption of performance hereunder (excluding Buyer’s
    payment of Supplier’s invoices) of such Party, the performance hereunder (excluding

                                                 5
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    Buyer’s payment of Supplier’s invoices) of such Party shall be excused for the period of the
    disability, without liability; provided that the Party is unable to carry out its obligations
    hereunder shall have, as soon as reasonably practicable after it has actual knowledge of the
    beginning of any excusable delay, notified the other Party of such delay, of the reason
    therefore and of the probable duration and consequence thereof. The Party so excused shall
    use its best efforts to eliminate the cause of the delay, interruption or cessation and to resume
    performance of its obligations hereunder with the least possible delay.

 24. Entire Agreement. This Agreement (together with Exhibit A attached hereto) supersedes all
     prior agreements and understandings between the Parties and constitutes the entire and
     integrated agreement between the Parties with respect to the subject matter hereof. This
     Agreement may be executed in counterparts, all of which, taken together, will constitute the
     entire Agreement. For purposes of this Agreement, a facsimile or other electronic version of
     a party’s signature, such as a .pdf, printed by a receiving facsimile or printer will be deemed
     an original signature.

                                     [Signature Page Follows]




                                                 6
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         IN WITNESS WHEREOF, the Parties have caused this Agreement to be executed in their
 respective corporate names by their respective officers thereunto duly authorized.

 Accepted and Agreed:

 Outstanding Foods, Inc.

 By:
        Bill Glaser
        Chief Executive Officer

 Sun Hong Foods, Inc.

 By:
        Shuzhen He
        President




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                                    Exhibit A

                              Certain Specifications

                                  GENERAL APPEARANCE

                 COLOR            White stalk, brown cap
                 VISUAL           Smooth, firm stalk
                SENSORY           Firm texture, not soft or spongy; strong mushroom
                                  flavor; free from foreign and 'off‘ odors or tastes
                  SHAPE           Flat to slightly rounded dome-shaped cap
                                  Straight, cylindrical stalks
                   SIZE           LL Size
                                  6-9” length (after cutting bottom 1” at harvest to
                                  avoid tough base)
                                  2-3” diameter
                MATURITY          Firm
                                  MAJOR DEFECTS

                 INSECTS          With no evidence of live insects or insect
                                  infestation, eg. sciarid fly
                 DISEASE          With evidence of fungal or bacterial rots ≤ 2%

          TEMPERATURE ABUSE Must be stored at 33-35 F
                            With evidence of dark water-soaked areas Wet,
                            slimy & soft via Temperature change ≤ 2%
            PHYSICAL DAMAGE       With cut holes, splits or missing stalks
                                  With deep bruises or crushed areas ≤ 2%
             PHYSIOLOGICAL        With crooked stems ≤ 2%


                                  MICROBIOLOGICAL/MICROBIAL TESTING


              SALMONELLA          Negative 375/G


                 E. COLI          <10 CFU/G




                                         8
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                 GLUTEN          <10ppm


                                 PACKAGING


              Lot Code Format    Lot No: / Box No:
                                 MFG date: MO/DA/YR / Time stamp:
                                 Best By Date: MO/DA/YR




                                      9
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                       Exhibit B
                              Case 2:19-cv-10121-RAO Document 7-2 Filed 12/16/19 Page 15 of 33 Page ID #:110


                                                                                                             Wallace, Jordan, Ratliff & Brandt LLC
                                                                                                                                       Attorneys at Law

Sun Hong Foods, Inc. v Outstanding Foods, Inc.

             Claim Amounts Calculated Through:       11/18/2019
                     PACA Creditor / Claimant:       Sun Hong Foods, Inc.
                                        Debtor:      Outstanding Foods, Inc.
                               Payment Terms:        Net 30
                                  Interest Rate:     1.5 % per mon. (18% APR)
                       Attorneys' Fees & Costs:      Yes

                 Date of Invoice or    Date Trust    Date Payment    No. of Days                          Payments        Invoice Amount        Accrued Interest              Outstanding
Invoice Number                                                                     Invoice Amount
                     Shipment         Notice Given        Due         Past Due                            Received              Due             (through date of chart)        Balance
    63631             05/07/19          05/07/19       06/06/19          165       $          39.75     $        -         $        39.75       $               3.28        $         43.03
    63827             05/21/19          05/21/19       06/20/19          151       $          39.75     $        -         $        39.75       $               3.00        $         42.75
    65170             07/31/19          07/31/19       08/30/19           80       $      42,400.00     $        -         $    42,400.00       $           1,696.00        $     44,096.00
    65168             08/06/19          08/06/19       09/05/19           74       $      23,320.00     $        -         $    23,320.00       $             862.84        $     24,182.84
    65108             08/06/19          08/06/19       09/05/19           74       $      19,080.00     $        -         $    19,080.00       $             705.96        $     19,785.96
    65171             08/14/19          08/14/19       09/13/19           66       $      42,400.00     $        -         $    42,400.00       $           1,399.20        $     43,799.20
    65255             08/20/19          08/20/19       09/19/19           60       $       1,050.00     $        -         $     1,050.00       $              31.50        $      1,081.50
    65231             08/20/19          08/20/19       09/19/19           60       $      42,400.00     $        -         $    42,400.00       $           1,272.00        $     43,672.00
    65505             08/27/19          08/27/19       09/26/19           53       $      42,400.00     $        -         $    42,400.00       $           1,123.60        $     43,523.60
    65506             08/27/19          08/27/19       09/26/19           53       $       1,050.00     $        -         $     1,050.00       $              27.83        $      1,077.83
    65768             09/12/19          09/12/19       10/12/19           37       $      42,400.00     $        -         $    42,400.00       $             784.40        $     43,184.40
    65769             09/12/19          09/12/19       10/12/19           37       $       1,050.00     $        -         $     1,050.00       $              19.43        $      1,069.43
    65846             09/19/19          09/19/19       10/19/19           30       $      42,400.00     $        -         $    42,400.00       $             636.00        $     43,036.00
    65847             09/19/19          09/19/19       10/19/19           30       $       1,050.00     $        -         $     1,050.00       $              15.75        $      1,065.75
    65873             10/03/19          10/03/19       11/02/19           16       $      42,400.00     $        -         $    42,400.00       $             339.20        $     42,739.20
    65874             10/10/19          10/10/19       11/09/19            9       $      42,400.00     $        -         $    42,400.00       $             190.80        $     42,590.80
    65875             10/17/19          10/17/19       11/16/19            2       $      42,400.00                        $    42,400.00       $              42.40        $     42,442.40
                                                                                   $     428,279.50     $            -     $   428,279.50       $           4,670.28        $   432,949.78


                                                                                                                       Principal Amount:                                    $   428,279.50
                                                                                                                        Accrued Interest:                                   $     4,670.28
                                                                                       Attorneys' Fees & Costs (estimated through 11/18/19) :                               $    11,058.46
                                                                                                          Expense Related to Product:                                     + $     9,846.21
                                                                                                  Total PACA Trust Amount Claimed:                                          $   453,854.45
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                               Sun Hong Foods, Inc                                                                                                                                                      Invoice
                               P.O Box 8784
                                                                                                                                                                                       Date                      Invoice #
                               Rowland Heights, CA 91748
                               FAX: 626 773 8188                                                                                                                                    8/6/2019                    65168 (LA)



   Bill To                                                                                                                        Ship To

Outstanding Foods, Inc                                                                                                        Warnock Foods
615 Hampton Drive,                                                                                                            20237 Masa St,
Suite C101                                                                                                                    Madera, CA 93638
Venice, CA 90291




           P.O. Number                                        Rep                                Ship                                Via                             Terms                                 Due Date

                                                                                              8/6/2019                                                                Net 30                                9/5/2019



       Item Code                                                      Description                                                        Quantity                        Price Each                             Amount

2001                              King Oyster 19360 lbs (China) container #16                                                                                 1                     23,320.00                        23,320.00




Driver:                                      Time Left:                                    Time Arrive:
                                                                                                                                                       Total                                                       $23,320.00

All claims and return must be made with in 24 hours of purchase or must be returned for credit. No adjustments are permissible without seller’s written              A Pallet Fee of $6 / Pallet will be charged on this invoice, if the
permission. Past due accounts subject to interest charge off 1.5% per month (18% annually). Buyer agree to pay all cost of any action taken collect overdue          trucker does not bring back pallets for exchange. Thank you
accounts including, but not limited to court costs, reasonable attorney’s fees and/or cost of collection, shall be borne by purchaser. The jurisdiction remains in   for understaing.
the city of Los Angeles, California until all goods are paid in full.                                                                                                Total Pallets Delivered :_________
“The Perishable Agricultural Commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the Perishable Agricultural    Total Pallets Exchanged: _________
Commodities Act, 1930 (7 U.S.C. 499e(c)). The seller of these commodities retains a trust claim over there commodities, all inventories of food or other
products derived from these commodities, and any receivable or proceeds from the sales of these commodities until full payment is received.”                         Driver Signature: _______________________
           Case 2:19-cv-10121-RAO Document 7-2 Filed 12/16/19 Page 17 of 33 Page ID #:112

                               Sun Hong Foods, Inc                                                                                                                                                      Invoice
                               P.O Box 8784
                                                                                                                                                                                       Date                      Invoice #
                               Rowland Heights, CA 91748
                               FAX: 626 773 8188                                                                                                                                   8/27/2019                    65505 (LA)



   Bill To                                                                                                                        Ship To

Outstanding Foods, Inc                                                                                                        Warnock Foods
615 Hampton Drive,                                                                                                            20237 Masa St,
Suite C101                                                                                                                    Madera, CA 93638
Venice, CA 90291




           P.O. Number                                        Rep                                Ship                                Via                             Terms                                 Due Date

                                                                                             8/27/2019                                                                Net 30                               9/26/2019



       Item Code                                                      Description                                                        Quantity                        Price Each                             Amount

2001                              King Oyster 35200 lbs (China) container #21                                                                                 1                     42,400.00                        42,400.00
                                  OOLU6456090




Driver:                                      Time Left:                                    Time Arrive:
                                                                                                                                                       Total                                                       $42,400.00

All claims and return must be made with in 24 hours of purchase or must be returned for credit. No adjustments are permissible without seller’s written              A Pallet Fee of $6 / Pallet will be charged on this invoice, if the
permission. Past due accounts subject to interest charge off 1.5% per month (18% annually). Buyer agree to pay all cost of any action taken collect overdue          trucker does not bring back pallets for exchange. Thank you
accounts including, but not limited to court costs, reasonable attorney’s fees and/or cost of collection, shall be borne by purchaser. The jurisdiction remains in   for understaing.
the city of Los Angeles, California until all goods are paid in full.                                                                                                Total Pallets Delivered :_________
“The Perishable Agricultural Commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the Perishable Agricultural    Total Pallets Exchanged: _________
Commodities Act, 1930 (7 U.S.C. 499e(c)). The seller of these commodities retains a trust claim over there commodities, all inventories of food or other
products derived from these commodities, and any receivable or proceeds from the sales of these commodities until full payment is received.”                         Driver Signature: _______________________
           Case 2:19-cv-10121-RAO Document 7-2 Filed 12/16/19 Page 18 of 33 Page ID #:113

                               Sun Hong Foods, Inc                                                                                                                                                      Invoice
                               P.O Box 8784
                                                                                                                                                                                       Date                      Invoice #
                               Rowland Heights, CA 91748
                               FAX: 626 773 8188                                                                                                                                   9/12/2019                    65768 (LA)



   Bill To                                                                                                                        Ship To

Outstanding Foods, Inc                                                                                                        Warnock Foods
615 Hampton Drive,                                                                                                            20237 Masa St,
Suite C101                                                                                                                    Madera, CA 93638
Venice, CA 90291




           P.O. Number                                        Rep                                Ship                                Via                             Terms                                 Due Date

                                                                                             9/12/2019                                                                Net 30                              10/12/2019



       Item Code                                                      Description                                                        Quantity                        Price Each                             Amount

2001                              King Oyster 35200 lbs (China) container #22                                                                                 1                     42,400.00                        42,400.00
                                  oolu6432539




Driver:                                      Time Left:                                    Time Arrive:
                                                                                                                                                       Total                                                       $42,400.00

All claims and return must be made with in 24 hours of purchase or must be returned for credit. No adjustments are permissible without seller’s written              A Pallet Fee of $6 / Pallet will be charged on this invoice, if the
permission. Past due accounts subject to interest charge off 1.5% per month (18% annually). Buyer agree to pay all cost of any action taken collect overdue          trucker does not bring back pallets for exchange. Thank you
accounts including, but not limited to court costs, reasonable attorney’s fees and/or cost of collection, shall be borne by purchaser. The jurisdiction remains in   for understaing.
the city of Los Angeles, California until all goods are paid in full.                                                                                                Total Pallets Delivered :_________
“The Perishable Agricultural Commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the Perishable Agricultural    Total Pallets Exchanged: _________
Commodities Act, 1930 (7 U.S.C. 499e(c)). The seller of these commodities retains a trust claim over there commodities, all inventories of food or other
products derived from these commodities, and any receivable or proceeds from the sales of these commodities until full payment is received.”                         Driver Signature: _______________________
           Case 2:19-cv-10121-RAO Document 7-2 Filed 12/16/19 Page 19 of 33 Page ID #:114

                               Sun Hong Foods, Inc                                                                                                                                                      Invoice
                               P.O Box 8784
                                                                                                                                                                                       Date                      Invoice #
                               Rowland Heights, CA 91748
                               FAX: 626 773 8188                                                                                                                                   9/19/2019                    65846 (LA)



   Bill To                                                                                                                        Ship To

Outstanding Foods, Inc                                                                                                        Warnock Foods
615 Hampton Drive,                                                                                                            20237 Masa St,
Suite C101                                                                                                                    Madera, CA 93638
Venice, CA 90291




           P.O. Number                                        Rep                                Ship                                Via                             Terms                                 Due Date

                                                                                             9/19/2019                                                                Net 30                              10/19/2019



       Item Code                                                      Description                                                        Quantity                        Price Each                             Amount

2001                              King Oyster 35200 lbs (China) container #23                                                                                 1                     42,400.00                        42,400.00
                                  OOLU6161648




Driver:                                      Time Left:                                    Time Arrive:
                                                                                                                                                       Total                                                       $42,400.00

All claims and return must be made with in 24 hours of purchase or must be returned for credit. No adjustments are permissible without seller’s written              A Pallet Fee of $6 / Pallet will be charged on this invoice, if the
permission. Past due accounts subject to interest charge off 1.5% per month (18% annually). Buyer agree to pay all cost of any action taken collect overdue          trucker does not bring back pallets for exchange. Thank you
accounts including, but not limited to court costs, reasonable attorney’s fees and/or cost of collection, shall be borne by purchaser. The jurisdiction remains in   for understaing.
the city of Los Angeles, California until all goods are paid in full.                                                                                                Total Pallets Delivered :_________
“The Perishable Agricultural Commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the Perishable Agricultural    Total Pallets Exchanged: _________
Commodities Act, 1930 (7 U.S.C. 499e(c)). The seller of these commodities retains a trust claim over there commodities, all inventories of food or other
products derived from these commodities, and any receivable or proceeds from the sales of these commodities until full payment is received.”                         Driver Signature: _______________________
           Case 2:19-cv-10121-RAO Document 7-2 Filed 12/16/19 Page 20 of 33 Page ID #:115

                               Sun Hong Foods, Inc                                                                                                                                                      Invoice
                               P.O Box 8784
                                                                                                                                                                                       Date                      Invoice #
                               Rowland Heights, CA 91748
                               FAX: 626 773 8188                                                                                                                                   10/3/2019                    65873 (LA)



   Bill To                                                                                                                        Ship To

Outstanding Foods, Inc                                                                                                        Warnock Foods
615 Hampton Drive,                                                                                                            20237 Masa St,
Suite C101                                                                                                                    Madera, CA 93638
Venice, CA 90291




           P.O. Number                                        Rep                                Ship                                Via                             Terms                                 Due Date

                                                                                             10/3/2019                                                                Net 30                               11/2/2019



       Item Code                                                      Description                                                        Quantity                        Price Each                             Amount

2001                              King Oyster 35200 lbs (China) container #24                                                                                 1                     42,400.00                        42,400.00




Driver:                                      Time Left:                                    Time Arrive:
                                                                                                                                                       Total                                                       $42,400.00

All claims and return must be made with in 24 hours of purchase or must be returned for credit. No adjustments are permissible without seller’s written              A Pallet Fee of $6 / Pallet will be charged on this invoice, if the
permission. Past due accounts subject to interest charge off 1.5% per month (18% annually). Buyer agree to pay all cost of any action taken collect overdue          trucker does not bring back pallets for exchange. Thank you
accounts including, but not limited to court costs, reasonable attorney’s fees and/or cost of collection, shall be borne by purchaser. The jurisdiction remains in   for understaing.
the city of Los Angeles, California until all goods are paid in full.                                                                                                Total Pallets Delivered :_________
“The Perishable Agricultural Commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the Perishable Agricultural    Total Pallets Exchanged: _________
Commodities Act, 1930 (7 U.S.C. 499e(c)). The seller of these commodities retains a trust claim over there commodities, all inventories of food or other
products derived from these commodities, and any receivable or proceeds from the sales of these commodities until full payment is received.”                         Driver Signature: _______________________
           Case 2:19-cv-10121-RAO Document 7-2 Filed 12/16/19 Page 21 of 33 Page ID #:116

                               Sun Hong Foods, Inc                                                                                                                                                      Invoice
                               P.O Box 8784
                                                                                                                                                                                       Date                      Invoice #
                               Rowland Heights, CA 91748
                               FAX: 626 773 8188                                                                                                                                  10/10/2019                    65874(LA)



   Bill To                                                                                                                        Ship To

Outstanding Foods, Inc                                                                                                        Warnock Foods
615 Hampton Drive,                                                                                                            20237 Masa St,
Suite C101                                                                                                                    Madera, CA 93638
Venice, CA 90291




           P.O. Number                                        Rep                                Ship                                Via                             Terms                                 Due Date

                                                                                            10/10/2019                                                                Net 30                               11/9/2019



       Item Code                                                      Description                                                        Quantity                        Price Each                             Amount

2001                              King Oyster 35200 lbs (China) container #25                                                                                 1                     42,400.00                        42,400.00
                                  coming




Driver:                                      Time Left:                                    Time Arrive:
                                                                                                                                                       Total                                                       $42,400.00

All claims and return must be made with in 24 hours of purchase or must be returned for credit. No adjustments are permissible without seller’s written              A Pallet Fee of $6 / Pallet will be charged on this invoice, if the
permission. Past due accounts subject to interest charge off 1.5% per month (18% annually). Buyer agree to pay all cost of any action taken collect overdue          trucker does not bring back pallets for exchange. Thank you
accounts including, but not limited to court costs, reasonable attorney’s fees and/or cost of collection, shall be borne by purchaser. The jurisdiction remains in   for understaing.
the city of Los Angeles, California until all goods are paid in full.                                                                                                Total Pallets Delivered :_________
“The Perishable Agricultural Commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the Perishable Agricultural    Total Pallets Exchanged: _________
Commodities Act, 1930 (7 U.S.C. 499e(c)). The seller of these commodities retains a trust claim over there commodities, all inventories of food or other
products derived from these commodities, and any receivable or proceeds from the sales of these commodities until full payment is received.”                         Driver Signature: _______________________
           Case 2:19-cv-10121-RAO Document 7-2 Filed 12/16/19 Page 22 of 33 Page ID #:117

                               Sun Hong Foods, Inc                                                                                                                                                      Invoice
                               P.O Box 8784
                                                                                                                                                                                       Date                      Invoice #
                               Rowland Heights, CA 91748
                               FAX: 626 773 8188                                                                                                                                  10/17/2019                    65875(LA)



   Bill To                                                                                                                        Ship To

Outstanding Foods, Inc                                                                                                        Warnock Foods
615 Hampton Drive,                                                                                                            20237 Masa St,
Suite C101                                                                                                                    Madera, CA 93638
Venice, CA 90291




           P.O. Number                                        Rep                                Ship                                Via                             Terms                                 Due Date

                                                                                            10/17/2019                                                                Net 30                              11/16/2019



       Item Code                                                      Description                                                        Quantity                        Price Each                             Amount

2001                              King Oyster 35200 lbs (China) container #26                                                                                 1                     42,400.00                        42,400.00
                                  3200 cs
                                  coming




Driver:                                      Time Left:                                    Time Arrive:
                                                                                                                                                       Total                                                       $42,400.00

All claims and return must be made with in 24 hours of purchase or must be returned for credit. No adjustments are permissible without seller’s written              A Pallet Fee of $6 / Pallet will be charged on this invoice, if the
permission. Past due accounts subject to interest charge off 1.5% per month (18% annually). Buyer agree to pay all cost of any action taken collect overdue          trucker does not bring back pallets for exchange. Thank you
accounts including, but not limited to court costs, reasonable attorney’s fees and/or cost of collection, shall be borne by purchaser. The jurisdiction remains in   for understaing.
the city of Los Angeles, California until all goods are paid in full.                                                                                                Total Pallets Delivered :_________
“The Perishable Agricultural Commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the Perishable Agricultural    Total Pallets Exchanged: _________
Commodities Act, 1930 (7 U.S.C. 499e(c)). The seller of these commodities retains a trust claim over there commodities, all inventories of food or other
products derived from these commodities, and any receivable or proceeds from the sales of these commodities until full payment is received.”                         Driver Signature: _______________________
Case 2:19-cv-10121-RAO Document 7-2 Filed 12/16/19 Page 23 of 33 Page ID #:118
Case 2:19-cv-10121-RAO Document 7-2 Filed 12/16/19 Page 24 of 33 Page ID #:119
Case 2:19-cv-10121-RAO Document 7-2 Filed 12/16/19 Page 25 of 33 Page ID #:120
Case 2:19-cv-10121-RAO Document 7-2 Filed 12/16/19 Page 26 of 33 Page ID #:121
Case 2:19-cv-10121-RAO Document 7-2 Filed 12/16/19 Page 27 of 33 Page ID #:122
Case 2:19-cv-10121-RAO Document 7-2 Filed 12/16/19 Page 28 of 33 Page ID #:123
Case 2:19-cv-10121-RAO Document 7-2 Filed 12/16/19 Page 29 of 33 Page ID #:124
Case 2:19-cv-10121-RAO Document 7-2 Filed 12/16/19 Page 30 of 33 Page ID #:125
Case 2:19-cv-10121-RAO Document 7-2 Filed 12/16/19 Page 31 of 33 Page ID #:126
Case 2:19-cv-10121-RAO Document 7-2 Filed 12/16/19 Page 32 of 33 Page ID #:127
Case 2:19-cv-10121-RAO Document 7-2 Filed 12/16/19 Page 33 of 33 Page ID #:128
